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                                                                                    filed
                                                                             U.S. DISTRICT COURT
Todd Hambrick                                                               DISTRICT OF WYOMIITG
Wyoming State Bar No.6-2672
301ThelmaDr. #402
                                                                           2019 APR I I PMlt^Ol
Casper, WY 82609                                                          STEPHAH HARRIS, CLERK
(307)277-0496                                                                       CASPER
toddhhambrick@gmail.com


                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF WYOMING



 LINDA LENNEN,Individually and as the
 Mother of DOUGLAS BURTON
 ONEYEAR,and as Personal Representative
 ofthe Estate of DOUGLAS BURTON
 ONEYEAR,DECEASED,

         Plaintiff,

V.                                                          Civil Action No. 19-CV-41-SWS

CITY OF CASPER, WYOMING,JOHN DOES
(11-20)ofthe CASPER POLICE DEPARTMENT
individually and as employees/peace officers/
instructors, JOHN DOES(1-10)ofthe
WYOMING LAW ENFORCEMENT ACADEMY
individually and as employees/peace officers/
instructors, CASPER POLICE OFFICER
JONATHAN SCHLAGER and CASPER
POLICE OFFICER CODY MEYERS,

        Defendants,

                             PLAINTIFF'S FIRST AMENDED COMPLAINT

        NOW COMES Linda Lennen,Plaintiff individually as the mother and as personal representative of

the Estate ofDouglas Burton Oneyear, deceased, pursuant to Federal Rules ofCivil Procedure 15(a)(1)(B)

and alleges the following:

        1. This action is brought by the Plaintiff against the Defendants,the City of Casper, Wyoming,

            more particularly John Does(11-20)individually and as employees/peace officers/instructors

            ofthe Casper Police Department, John Does(1-10)individually and as employees/peace

            officers/instructors ofthe Wyoming Law Enforcement Academy,and Jonathan Schlager

           ("Schlager")and Cody Meyers("Meyers")(coIIectively,"The Officers")for their use of

            excessive and deadly force resulting in the unlawful shooting death of Douglas Burton
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   Oneyear("Oneyear")under the color oflaw in violation of his individual rights under the

   Second and Fourth Amendments ofthe United States Constitution and in violation of his civil

   rights pursuant to 42 U.S.C. § 1983.

2. Plaintiff alleges that the City of Casper, Wyoming("City"), John Does(11-20)individually

   and as employees/peace officers/instructors ofthe Casper Police Department("Police")and

   John Does(1-10), individually and as employees/peace officers/instructors ofthe Wyoming

   Law Enforcement Academy("Academy")and their Policymakers (collectively,

   "Policymakers")failed to properly hire, train, supervise, screen, monitor, discipline, transfer,

   counsel or odierwise control officers who are known,or should have been known,to engage in

   the use ofexcessive force and/or deadly force. The Policymakers had a duty, but failed to

   implement and/or enforce policies, practices and procedures for the Police that respected

   Douglas Oneyear's constitutional rights to assistance and protection. The Policymakers'

   failures listed above caused Douglas Oneyear's unwarranted and excruciating physical and

    mental anguish and death.

3. Plaintiff alleges that City ofCasper, Wyoming("City"), John Does(11-20)individually and as

   employees/peace officers/instructors ofthe Casper Police Department("Police")and John

   Does(1-10), individually and as employees/peace officers/instructors ofthe Wyoming Law

   Enforcement Academy("Academy")and their Policymakers (collectively,"Policymakers")

   provided training(in the form of written policy as the "21 Foot Rule," and more)ofThe

    Officers faced with the non-life threatening situation which occurred in this case that was

   negligent, dangerous and deadly to the innocent public causing Douglas Oneyear's

   unwarranted and excruciating physical and mental anguish and death. These Policymakers set

   forth an official policy to be followed by the officers and as a result offollowing this policy

   Douglas Oneyear's constitutional rights were violated causing Douglas Oneyear's unwarranted

   and excruciating physical and mental anguish and death.
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4. Plaintiff alleges that The Officers under the circumstances ofthis case were plainly

    incompetent and knowingly violated the law when they caused Douglas Oneyear's

    unwarranted and excruciating physical and mental anguish and death.

5. Plaintiff seeks answers and compensation for damages and the wrongful death ofDouglas

    Oneyear.




                                              PARTIES


6. Plaintiff Linda Lennen is a person offull age of majority and a resident ofCasper, Wyoming.

    Plaintiff Linda Lennen sues on behalfof herself and as the duly appointed personal

    representative ofthe Estate of Douglas Oneyear through Civil Action No. 105553, Seventh

    Judicial District Court, Wyoming.

7. Defendant Officers Schlager and Meyers are individuals who may be served at and through the

    Casper Police Department, Hall ofJustice, 201 N.David,      Floor, Casper, Wyoming,as

    employees/police officers.

8. Defendant the City of Casper, Wyoming is a governmental entity located in Natrona

    County, Wyoming. The City of Casper operates the Casper Police Department

   ("CPD"). The City of Casper funds and operates the CPD,and is responsible for the

   implementation ofthe police department's budget, policies, procedures, practices, and

    customs, as well as the acts and omissions, challenged by this suit. The CPD through

   John Does(11-20)individually and as employees/peace officers/instructors, is responsible

   for preventive, investigative, and enforcement services for all citizens of The City of

    Casper. The City of Casper may be served with citation herein by and through its City

    Attorney, John Henley, at 200 N. David St., Casper, Wyoming 82609

   or wherever he may be found. Additional service is being made on Casper City Manager
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   J. Carter Napier at 200 N.David St., Casper, Wyoming 82609 or wherever he may be

   found.


9. Wyoming Law Enforcement Academy("Academy")is a governmental entity located

   in Converse County, Wyoming. Wyoming Law Enforcement Academy through John

   Does(1-10), individually and as employees/peace officers/instructors ofthe are responsible

   for education, training certification and qualifying law enforcement officers for the

   State of Wyoming. These individual John Doe Defendants may be served with citation

   at the Wyoming Attorney General's office in Cheyenne, Wyoming.

10. As required by Wyo. Stat. §l-39-113(d)(i), the claim described under Wyo. Stat. §1-

   39-113(c) was filed with the City of Casper, Casper Police Department and the

   Wyoming Law Enforcement Academy in accordance with Wyo. Stat §1-39-113(a)et

   seq. As required by Wyo. Stat. §1-39-113(d)(ii), on or about August 23,2018 Plaintiff

   filed her governmental claim which was signed,imder oath in compliance with Wyo.

   Stat. §1-39-113(e). The Claim was filed with the Casper City Attorney,the Chiefof

   Police ofthe Casper Police Department,the City Manager of Casper and the Director

   ofthe Wyoming Law Enforcement(via U.S. Mail). As required by Wyo. Stat. §1-39-

   113(d)(iii) the Plaintiffs claim was in compliance with the signature and certification

   requirement of Article 16, section 7 of the Wyoming Constitution.

                               JURISDICTION AND VENUE




11. Jurisdiction exists in this court pursuant to 28 U.S.C. §§ 1331 and 1343 as this

   action is brought under, inter alia, the Fourth Amendment of the United States

   Constitution and 42 U.S.C. §1983, to redress the deprivation of rights, privileges and

   immunities guaranteed to decedent Douglas Burton Oneyear, by constitutional and

   statutory provisions. Plaintiff further invokes the supplemental jurisdiction of this
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   court pursuant to 28 U.S.C. § 1367 to adjudicate pendent claims arising under the laws

   ofthe State of Wyoming.

12. Venue is proper in this court because the causes of action occurred within the

   District of Wyoming.

                                           FACTS


13. Close to midnight on the evening of February 25,2018, Douglas Oneyear left his

   apartment in Quail Run where he lived with his mother and walked to the Loaf and Jug

   a block away for cigarettes. Douglas was diagnosed at a very young age with various

   mental issues and had lived on a combination of medicines for most of his life and

   fi*om time to time developed strong strange attachments to material items. On this

   night, he carried with him a toy sword which was a souvenir fi-om the movie The

   Highlander.

14. When Douglas went into the loaf and Jug this frightened the clerk so he went behind

   the counter to get his own cigarettes, got tangled up in some electrical wires and broke

   the attached machinery. While the diminutive clerk was shaken up she handled

   Douglas fine and was unharmed when he left.

15. On his way walking the two blocks back home Douglas was Hearing the entrance to

   Quail Run, Officer Schlager pulled his police car up so that it was blocking the

   sidewalk directly in fi*ont of Douglas and Officer Meyers pulled up behind him.

   Douglas started walking in the street around the front fender of Officer Schlager's car

   in a non-threatening manner with his arms at his sides. Both Officers exited their

   vehicles drawing their guns.
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16. Within seconds of exiting their patrol cars both Officer Schlager and Officer Meyers

   open fired on Douglas and unlawfully killed him right there in the street. The Officers

   have testified in internal investigations that they were acting as they had been trained.


17.No attempt was even considered to use non-lethal force to subdue the man whose

   arms were at his side. There was no reason to kill Douglas Oneyear, not only was he

   harmless but he could have been subdued easily without harming him.

18. John Does (I-IO), individually and as employees/peace officers/instructors of the Academy

   and John Does(11-20) individually and as employees/peace officers/instructors of the CPD

   failed to provide adequate training to Officer Schlager and Officer Meyers in the

   use of deadly force.


19. John Does(1-10), individually and as employees/peace officers/instructors of the Academy

   and John Does(11-20) individually and as employees/peace officers/instructors of the CPD

   failed to provide adequate training to Officer Schlager and Officer Meyers on

   proper arrest and confrontation techniques.

20. John Does(1-10), individually and as employees/peace officers/instructors of the Academy

   and John Does(11-20) individually and as employees/peace officers/instructors of the CPD

   failed to provide adequate training to Officers Schlager and Officer Meyers in

   methods and techniques to control situations similar to the one created by Douglas

   Oneyear on February 25, 2018.

21. The Defendants knew or should have known that the training provided to

   Officers Schlager and Officer Meyers was inadequate or nonexistent.

22. At the time Defendants Schlager and Meyers drew their firearms, there had been no

   previous interaction between Oneyear and Defendants Schlager and Meyers, and at no

   time did Oneyear resist in any way that would justify the Defendants' use of deadly
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   force. The drawing of an Officer's weapon inherently assumes that the use of force

   will cause death or serious bodily injury to the suspect, and is to be applied under very

   narrowly defined circumstances.

23. Defendant Schlager and Meyer's unlawful and unwarranted acts, lack of training and

   the official customs or policies (written or otherwise) of John Does (1-10), individually

   and as employees/peace officers/instructors of the Academy and John Does (11-20)

   individually and as employees/peace officers/instructors of the CPD caused Oneyear's

   wrongful death.

24. There is no evidence that Defendant Schlager and Meyers or anyone else were in

   danger of imminent death or great bodily harm that justified taking a person's life.

   There were no struggles that would indicate that the use of excessive and/or deadly

   force was justified.

25. Douglas Oneyear posed no risk to Defendant Schlager and Meyers or any other person

   in the immediate area. Oneyear did not attempt to harm Defendant Schlager or Meyers

   and was not committing a crime or reasonably believed to have committed a crime

   when Defendants Schlager and Meyers shot him dead.

26. Defendants Schlager and Meyers' unlawful and unwarranted acts, lack of training and

   the official customs or policies of John Does (1-10), individually and as employees/peace

   officers/instructors of the Academy and John Does (11-20) individually and as

   employees/peace officers/instructors of the CPD caused Plaintiffs injuries and death. As

   a direct and proximate result of the Defendants' conduct. Plaintiff has sustained

   substantial damages and pecuniary loss.

27. Upon information and belief, the CPD has not implemented policies and

   procedures to aggressively curtail death and/or injuries as a result ofthe improper use
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      of deadly force. The CPD has provided grossly negligent and inadequate, reckless

      and dangerous techniques that practically mandate the use of deadly force with

      negligible training given in the use of non-lethal force in situations such as that which

      occtirred in this case.




EXCESSIVE FORCE BY DEFENDANTS(Individually and in their official capacity)

                                COUNT 1-42 U.S.C.§ 1983

  28. Plaintiff incorporates by reference paragraphs 1 through 27 as if fully set forth

      herein. Plaintiff would show that Defendants Schlager and Meyers' actions on the

      occasion in question were wrongful, malicious and reckless in depriving Douglas

      Oneyear of his constitutional rights, as alleged more fully below.

  29. Plaintiff will show that at all times material hereto. Defendants Schlager and Meyers

      had a duty to avoid infliction of unjustified bodily injury to Oneyear, to protect his

      bodily integrity and to not trample on his constitutional rights.

  30. Plaintiff will show that Defendants Schlager and Meyers failed to act as reasonable

      officers would have acted in the same or similar circumstances. That is, Defendants

      Schlager and Meyers, without justification and the need to do so, used excessive and

      deadly force as described above and killed Douglas Oneyear without legal

     justification. Oneyear never made any threatening gestures toward Defendants

      Schlager and Meyers and did not pose an immediate threat to the safety of Defendants

      Schlager and Meyers or others.

  31. Defendants Schlager and Meyers were not provoked when they fired multiple shots at

     close range no lawful or justifiable reason. Oneyear died as a result of multiple
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      gunshot wounds. The excessive and deadly force used by Defendants was not

      reasonable,justified nor was it necessary under the circumstances.

  32. Defendants Schlager and Meyers' actions were not objectively reasonable because he

      followed a procedure designed to inflict excessive and deadly force in restraining

      individuals in a non-life threatening situation.

  33. Plaintiff will show that Defendants Schlager and Meyers denied Oneyear his right to

      be free from the use of excessive force in violation of the Fourth Amendment to the

      United States Constitution.

  34. The force used by Defendants Schlager and Meyers was unnecessary, excessive and

      unreasonable under the circumstances, as Oneyear did not pose an immediate threat to

      the safety of Defendants Schlager and Meyers or others and the use of such excessive

      and deadly force was unnecessary. Defendants Schlager and Meyers embarked on a

      willfiil, malicious, reckless and outrageous course of conduct that was intended to

      cause and, in fact, caused Oneyear to suffer extreme and severe mental and emotional

      distress, agony and anxiety and death.

  35. As a result of these Constitutional violations to Douglas Oneyear and the injuries he

     sustained. Plaintiff seeks compensation as set forth more specifically in the section of

     this Complaint entitled "Damages."



NEGLIGENT FAILURE TO TRAIN BY THE CITY OF CASPER AND ACADEMY
                             COUNT 11 42 U.S.C.§ 1983


  36. Plaintiffincorporates paragraphs 1-35 as iffully set forth herein.

  37. Defendants Schlager and Meyers and other officers at the scene of the shooting

     incident were acting under color of law and acting pursimnt to customs, practices and
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   policies of John Does(1-10), individually and as employees/peace officers/instructors of the

   Academy, City of Casper and John Does (11-20) individually and as employees/peace

   officers/instructors of the CPD in regards to the use of deadly force as authorized

   and/or ratified by the Policymakers. Oneyear was deprived of rights and privileges

   secured to him by the United States Constitution and by other laws of the United

   States, by John Does (1-10), individually and as employees/peace officers/instructors of the

   Academy, City of Casper and John Does (11-20) individually and as employees/peace

   officers/instructors of the CPD negligently failing to provide proper training, adequate

   supervision or discipline in dealing with individuals such as Oneyear in violation of

   42 U.S.C. §1983 and related provisions of federal law and in violation of the above

   cited constitutional provisions.


38. With respect to the claims made the basis of this lawsuit, John Does (l-IO), individually

   and as employees/peace officers/instructors of the Academy, City of Casper and the John

   Does (11-20) individually and as employees/peace officers/instructors of the CPD

   negligently failed to adequately train its officers on how to deal with individuals in the

   situation on February 25, 2018 without the use of deadly force. The failure to train its

   officers in a relevant respect reflects a deliberate indifference to the City of Casper to
   the rights ofthe City's inhabitants and is actionable under 42 U.S.C. § 1983.

39. Defendant the City of Casper developed and maintained a policy of negligent and

   deficient training of its police force in the use of force, including the proper use of

   deadly force. The CPD's training was negligently designed and implemented under the

   direction of the City Manager John Does (11-20) individually and as employees/peace

   officers/instructors of the CPD and John Does (1-10), individually and as employees/peace

   officers/instructors ofthe Academy to act in this regard.
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40. The City of Casper, John Does (11-20) individually and as employees/peace

   officers/instructors of the CPD and John Does(1-10), individually and as employees/peace

   officers/instructors of the Academy's negligent failure to provide adequate training to

   its officers on how to deal with individuals during an event similar to the one at issue

   in this case and the subsequent use of deadly force reflect deliberate indifference by

   the Policymakers and reckless and conscious disregard for the obvious risk that

   officers would use excessive or deadly force on citizens and made the violations of

   Oneyear's constitutional rights, including his death, a reasonable probability.

41. Plaintiff would show that Defendant Schlager and Meyers' actions were the result of,

   or within the scope of, negligent and wrongful and reckless customs, policies, practices

   and/or procedures for which the city of Casper, John Does (11-20) individually and as

   employees/peace officers/instructors of the CPD,and John Does (1-10), individually and as

   employees/peace officers/instructors of the Academy knew or should have known but

   never provided the requisite and proper training.


42. On information and belief. Defendant the City of Casper, acting through

   official policies, practices, and customs, and with deliberate, callous, and conscious

   indifference to the constitutional rights of Oneyear failed to implement and/or enforce

   the policies, procedures; and practices necessary to provide constitutionally adequate

   protection assistance to Oneyear and implemented policies, procedures, and practices

   which actually interfered with or prevented with or prevented Oneyear from receiving

   the protection, assistance and care he deserved.


43. For instance, the following conduct, policies, and customs, inter alia, by

   Defendants violated Oneyear's constitutional rights:
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a.        the City of Casper, John Does (I-IO), individually and as employees/peace

officers/instructors of the Academy and John Does(11-20) individually and as employees/peace

officers/instructors of the CPD's negligent failure to adequately train, supervise or

discipline its officers who commit a wrongful act;

b.        Defendants' negligent policy on the proper use of deadly force;

c.        Defendants' negligent and inadequate training on how to deal with individuals

during an event such as the one at issue in this case;

d.        Using deadly force against Oneyear while he was merely walking down the

street;

e.        Using deadly force against Oneyear although he caused no immediate threat;

44. In addition, Defendant City of Casper, John Does (1-10), individually and as

      employees/peace officers/instructors of the Academy and John Does (11-20) individually

      and as employees/peace officers/instructors of the CPD, as applicable, negligently failed

      and refused to implement customs, policies, practices or procedures, and negligently

      failed to train its personnel adequately on the appropriate policies, practices or

      procedures regarding the proper use of deadly force. In so doing, Defendant City of

      Casper knew that it was acting against the clear dictates ofcurrent law,and knew that as

      a direct consequence of their deliberate decisions, the very situation that occurred — i.e..

      Oneyear's death— in all reasonable probability would occur.

45. The City of Casper's negligent failure to properly train and discipline its officers was

      the proximate cause ofthe violations of Oneyear's constitutional rights.
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                               WRONGFUL DEATH

46. Plaintiff incorporates by reference paragraphs 1 through 45 as if fully set forth

   herein.


47. By reason of Defendant Schlager and Meyers' wrongful conduct of killing Douglas

   Oneyear without the threat of imminent death or serious bodily harm, all Defendants

   are liable for damages.

48. Defendant Schlager and Meyers' negligent conduct that caused Oneyear's death was a

   producing cause of Oneyear's injury, which resulted in the following damages: loss of

   a family relationship, love, support, services, emotional pain and suffering, and for

   their acts and infliction of emotional distress caused by the wrongful killing of

   Oneyear.

49. Plaintiff seeks compensation as set forth more specifically in the section of this

   Complaint entitled "Damages."


                        DAMAGES ALL DEFENDANTS

50. Plaintiff incorporates by reference paragraphs 1 through 49 as if fully set forth

   herein. Defendants' acts and/or omissions were a proximate cause of the following

   Injuries suffered by Plaintiff and decedent:


       a. Actual damages;

       b.Loss of affection, consortium, comfort,financial assistance, protection,

       affection and care;

       c. Pain and suffering and mental anguish suffered by Oneyear prior to his death;

       d. Mental anguish and emotional distress suffered by Plaintiff and those she

       represents;



       e. Loss of quality of life;
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         f. Funeral and burial expenses;

          g.Loss ofservice; Loss of future earnings and contributions to Plaintiff,

h.         Exemplary and punitive damages as well as costs of court;

         i.Pursuant to 42 U.S.C. §1988, and other applicable laws. Plaintiffshould

          be awarded reasonable attorney's fees for the preparation and trial ofthis

          cause of action, and for its appeal, if required;

         j.Prejudgment interest; and


          1. Postjudgment interest.


51. Plaintiff seeks unliquidated damages in an amount that is within the jurisdictional

     limits ofthe court.



                           COSTS AND ATTORNEY FEES


52. Plaintiff incorporates by reference paragraphs 1 through 51 as if fully set forth

     herein. Plaintiff is entitled to an award of attorney fees and costs imder 42 U.S.C. §

      1988(b). As such. Plaintiff requests the Court to award costs and attorney fees

     incurred in Plaintiffs prosecution ofthis litigation.


                        JOINT AND SEVERAL LIABILITY


53. Plaintiff incorporates by reference paragraphs 1 through 52 as if fully set forth

     herein. Plaintiff would show that the Defendants were jointly and severally liable for

     the gross negligence, which was the proximate cause ofPlaintiffs injuries.
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       THEREFORE, Plaintiff prays that Defendants be cited to appear and answer herein; that

upon final trial hereof Plaintiff has and recovers judgment from Defendants; actual damages,

exemplary damages, pre-judgment interest at the legal rate; interest on said judgment at the legal

rate; costs of court; attorney's fees and costs and such other and further relief, both general

and special, at law and in equity, to which Plaintiff is justly entitled.

       DATED AND SIGNED this 11th day of April, 2019.



                                                               1 odd HaraoncK -   o-zo72
                                                               Attorney for Plaintiff



                                            Certificate of Service


           I hereby certify that the foregoing was served this 11th day of April 2019, by

           CM/ECF:



          Hampton K O'Neill
           John Masterson
           WELBORN SULLIVAN MECK & TOOLEY
           Attorneys for City ofCasper/Casper Police Department

           Adrian K Kowalski
           Justin Asbkhan Daraie
           WYOMING ATTORNEY GENERAL
          Attorneys for Wyoming Law Enforcement/Officer Schlager/Officer Meyers
